                Case 4:91-cr-00176-LGW-CLR Document 1502 Filed 10/07/15 Page 1 of 1
AO 247(Rev 11./ll) OrderRegarding                               to l 8 U.S C S 3582(c)(2)
                                                 ReductionPursuant
                                Motionfof Sentence                                                    P a g eI n l 2 | P a g e2 N o l f o r P u b l r cD i s e l o s u r e )



                                   UNnpoSrarEsDrsrzucrCounr u.sL:r&]hrFfncgu
                                                                  for the

                                                     SouthemDistrict of Georgia                                       ?$l5OCT-7
                                                                                                                             pH3:S0
                                                      SAVANNAHDIVISfON
                   United Statesof America
                             v.
                                                                         CaseNo:       4:91CR00176-6
                               Graham
                        Jermaine
                                                                        USM No:        07806-021
Date of       ginal Judgment:             l91 1e9?
                                   -Fgbruary
Date of                                  12.2013
               iousAmendedJudgment: October                              Chr!!topherKlein
(Llse Date                Judgmentif Any)
              Lost AmendecJ                                              Defendant s Aftarne))


                  ORDER REGARDINGMOTION FOR SENTENCEREDUCTION
                           PURSUANTTo 18 U.S.C.$ 3s82(c)(2)
          U motion of 5 the defendant n the Directorofthe BureauofPrisons ! the couft under l8 tl.S-C.
                                                                                                rangethat,has
$ 3582(c ) for a reduction in the term of imprisonmentimposedbasedon a guideline sentencing
         y beenloweredand maderetroactiveby the United StatesSentenciug         Commissionpursuantto 28 IJ.SC
                                                                                            forth at USSG $ I B L I 0
S 994(u), having consideredsuch motion, and taking into accountthe policy statementset
and the     cins fictors set fofth in l8 U.S.C.$ 3553(a),to the extentthat they are applicable,

IT IS          ERXD that the motion is:
                                                                                                   (as
              DENIED.       B GRANTED and the defendant'spreviouslyimposedsentenceof imprisonment reflected in
                            420months(360monthsplus60                      295months(235 months plus60 months
the tastjLtdglnentissued)of     monthsconsecutive)    months is reduced to            conseculrve]

                                          (CompleteParts I and II of Page 2 when motion is granted)




Exceptas otherwiseprovided,all provisionsofthejudgment dated
rr rs so ORDERED.
                                                                            ,4
Order Daie:        0rtatu"/,Mj
                                                                                         DudleyH. Bowen,Jr.
Effective               November1, 2015                                                United Stal€qDistrict Judge
                     (ddilerent lron otder date)                                           Prifltednameandtit[e
